Case 1:17-cv-00320-JMS-RLP Document 110 Filed 07/02/18 Page 1 of 3         PageID #: 882



                         UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAII

  ME2 Productions, Inc. et al.,            )   Case No.: 1:17-cv-00320-JMS-RLP
                                           )   (Copyright)
                     Plaintiffs,           )
     vs.                                   )   STIPULATION FOR DISMISSAL
                                           )   WITH PREJUDICE PURSUANT
  Dragon Media, Inc. d/b/a Dragon          )   TO FED. R. CIV. P. 41 AND
  Box et al.,                              )   ORDER
                                           )
                                           )
                     Defendants.           )
                                           )
                                           )
                                           )



           IT IS HEREBY STIPULATED AND AGREED by and between Plaintiffs

  ME2 Productions, Inc., and Venice PI, LLC and Defendants DRAGON MEDIA,

  INC. d/b/a Dragon Box and PAUL CHRISTOFORO (hereafter: “Defendants”),

  through their respective attorneys, that pursuant to Rules 41(a)(1)(ii) and 41(a)(2)

  of the Federal Rules of Civil Procedure, this action and all claims asserted herein

  by Plaintiffs against Defendants be and is hereby dismissed with prejudice, each

  party to bear any remaining costs and attorneys’ fees other than the amounts

  already paid pursuant to a Settlement and Release Agreement (“Settlement

  Agreement”) executed between the parties.

           This Stipulation has been executed by Plaintiffs’ counsel and Defendants’

  17-320
Case 1:17-cv-00320-JMS-RLP Document 110 Filed 07/02/18 Page 2 of 3         PageID #: 883



  counsel. This Court will retain jurisdiction until June 30, 2019 for the purposes of

  enforcing the Settlement Agreement.



        Dated: Kailua-Kona, Hawaii, July 2, 2018.


                                               /s/ Kerry S. Culpepper
                                               KERRY S. CULPEPPER, 9837

                                               Attorney for Plaintiffs ME2
                                               Productions, Inc., and Venice PI, LLC


        Dated: San Diego, California, July 2, 2018.


                                               /s/ Matthew J. Faust
                                               Matthew J. Faust, Cal. Bar 254145
                                               Admitted Pro Hac Vice
                                               Attorney for Defendants Dragon
                                               Media, Inc. d/b/a Dragon Box
                                               and Paul Christoforo


        Dated: Honolulu, Hawaii, July 2, 2018.


                                               /s/ Eric Seeleman
                                               Eric Seeleman, Bar No. 9998
                                               Attorney for Defendants Dragon
                                               Media, Inc. d/b/a Dragon Box
                                               and Paul Christoforo




                                           2
Case 1:17-cv-00320-JMS-RLP Document 110 Filed 07/02/18 Page 3 of 3   PageID #: 884



       APPROVED AND SO ORDERED:

       DATED: Honolulu, Hawaii, July 2, 2018.



                               /s/ J. Michael Seabright
                              J. Michael Seabright
                              Chief United States District Judge




  _________________________________________________________________
  ME2 Productions, Inc, et al. v. Dragon Media, Inc. et al,
  Case No.: 1:17-cv-00320-JMS-RLP, STIPULATION OF DISMISSAL; AND
  ORDER




                                         3
